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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION




 IN RE BROILER CHICKEN                            Case No: 1:16-cv-08637
 ANTITRUST LITIGATION
                                                  Judge Thomas Durkin
                                                  Magistrate Judge Jeffrey T. Gilbert



  CERTAIN DIRECT ACTION PLAINTIFFS’ JOINDER IN CHICK-FIL-A, INC.’S
 MOTION TO RECONSIDER THE SEPTEMBER 22, 2020 ORDER AND OBJECTION
     TO MAGISTRATE JUDGE’S MAY 7 AND MAY 13, 2021 ORDERS AND
    SUPPLEMENTAL BRIEF IN SUPPORT OF ITS MOTION TO PARTIALLY
    RECONSIDER THE SEPTEMBER 22, 2020 ORDER AND OBJECTION TO
         MAGISTRATE JUDGE’S MAY 7 AND MAY 13, 2021 ORDERS


       Direct Action Plaintiffs BJ’s Wholesale Club, Inc., Jetro Holdings, LLC, Maximum

Quality Foods, Inc., Sherwood Food Distributors, L.L.C., Harvest Meat Company, Inc., Western

Boxed Meat Distributors, Inc., Hamilton Meat, LLC, Darden Restaurants, Inc., PJ Food Service,

Inc., Thurston Foods, Inc., Feeser’s Inc., Aramark Food and Support Services Group, Inc., Panda

Restaurant Group, Inc., Quality Supply Chain Co-Op, Inc., Wood-Fruitticher Grocery Company,

Inc., Poultry Products Company of New England, LLC, Poultry Products Company, LLC, Poultry

Products of Connecticut, LLC, Poultry Products of Maine, LLC, McDonald’s Corporation, Gordon

Food Service, Inc. and Glazier Foods Company, by and through undersigned counsel, hereby join

in Direct Action Plaintiff Chick-fil-A Inc.’s Motion to Reconsider the September 22, 2020 Order

and Objection to Magistrate Judge’s May 7 and May 13, 2021 Orders, filed on May 14, 2021 (ECF

No. 4651) and Supplemental Brief in Support of Its Motion To Partially Reconsider the September

22, 2020 Order and Objection to Magistrate Judge’s May 7 and May 13, 2021 Orders, filed on

June 18, 2021 (ECF No. 4753).
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Dated: August 26, 2021
                                            Respectfully submitted,


                                            /s/ Philip J. Iovieno
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                                            Inc., Jetro Holdings, LLC, Maximum Quality
                                            Foods, Inc., Sherwood Food Distributors,
                                            L.L.C., Harvest Meat Company, Inc.,
                                            Western Boxed Meat Distributors, Inc.,
                                            Hamilton Meat, LLC, Darden Restaurants,
                                            Inc., PJ Food Service, Inc., Thurston Foods,
                                            Inc., Feeser’s Inc., Aramark Food and
                                            Support Services Group, Inc., Panda
                                            Restaurant Group, Inc., Quality Supply
                                            Chain Co-Op, Inc., Wood-Fruitticher
                                            Grocery Company, Inc., Poultry Products
                                            Company of New England, LLC, Poultry
                                            Products Company, LLC, Poultry Products
                                            of Connecticut, LLC, Poultry Products of
                                            Maine, LLC, McDonald’s Corporation
                                            Gordon Food Service, Inc. and Glazier
                                            Foods Company
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                                 CERTIFICATE OF SERVICE

The undersigned attorney, on oath, states that a copy of the foregoing pleading was served on all

of the attorneys of record via the Court’s electronic filing system.

                                                                              /s/ Philip J. Iovieno
